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AO 91 (Rev. 11/11) Criminal Complaint pee ETS?

UNITED STATES DISTRICT COURT. ;

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for the
District of New Mexico hal:
United States of America )
v. )
STEPHEN CRAIG CAMPBELL, )  CaseNo. AI-Al Le INT
a.k.a. John Doe, a.k.a. Walter Lee Coffman
)
)

Defendant(s)

AMENDED CRIMINAL COMPLAINT

I, the complainant in this case, state that the following is true to the best of my knowledge and belief.

On or about the date(s) of September 4, 2019 in the county of Otero in the
District of New Mexico , the defendant(s) violated:
Code Section Offense Description
18 USC 1544 Passport Fraud: Misuse of a Passport

This criminal complaint is based on these facts:

@ Continued on the attached sheet.

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Complainant’ ‘S signature

SA Lacey "Ohenn Federal Bureau of Investigation
Printed name and title pe

Sworn to before me and signed in my presence.

Date. 2 ZL ZoZzS LL ein Lo
, / Judge's signature /

/, : .
City and state: Las Cruces, NM Damian L. Martinez, U.S. Magistrate Judge [
Printed name and title

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AMENDED AFFIDAVIT IN SUPPORT OF CRIMINAL COMPLAINT

I, Lacey Chesser, being duly sworn, hereby depose and state as follows:

I am a Federal Bureau of Investigation (FBI) Special Agent currently assigned to the FBI
Albuquerque Division, Las Cruces Resident Agency. I have been an FBI Special Agent since
October 2023. Prior to becoming a Special Agent, I was a Police Officer in Charleston, South
Carolina for five years. During my time as a Police Officer, I worked in investigations for three
years, which included the Special Victims unit and the Homicide Unit. I am classified, trained,
and employed as a federal law enforcement officer with statutory arrest authority charged with
conducting criminal investigations of alleged violations of federal criminal statutes, including
violations of Title 18 of the United States Code. My experience as a Special Agent includes but
is not limited to: conducting physical surveillance; interviewing witnesses; writing affidavits for
and executing search warrants; working with undercover agents and informants; issuing
administrative and federal grand jury subpoenas; and analyzing financial records, telephone
records, and data derived from the use of pen registers and trap and traces; and assisting in
wiretap investigations.

This affidavit is submitted in support of an application for criminal complaint charging
Stephen Craig Campbell, a.k.a. John Doe a.k.a. Walter Lee Coffman, with Passport Fraud by

Misusing a Passport in violation of 18 U.S.C. 1544.

The facts in this affidavit are based on my own knowledge; knowledge obtained from other
individuals during my participation in this investigation, including other FBI SAs, law
enforcement officers, and witnesses; communications with others who have knowledge of the
events and circumstances described herein; and information gained through my training and

experience.
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Since this affidavit is being submitted for the limited purpose of establishing probable cause
to secure an amended criminal complaint, I have not included each fact known to me concerning
this investigation. I have set forth only those facts that I believe are necessary to establish the

requisite probable cause.

PROBABLE CAUSE

On or about September 4, 2019, John Doe a.k.a. Walter Lee Coffman, later identified as
Stephen Craig Campbell (“Campbell’’) visited the New Mexico Motor Vehicle Department
(MVD) in Cloudcroft, New Mexico, located in Otero County. During this visit, Campbell
fraudulently represented himself to be, Walter Lee
Coffman, by presenting a series of fraudulent

documents. Specifically, Campbell submitted a

previously issued New Mexico driver’s license that
featured his photograph but listed the name, “Walter L Coffman.” The license displayed Walter

Lee Coffman’s birthdate, and an address of 1014 NM HWY 24, Weed, New Mexico. The driver’s

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owraunmeuverreeaes' license indicated an issuance date of September 13, 2011,

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and an expiration date of October 21, 2019. In addition,

Campbell provided a Social Security card bearing Walter

Lee Coffman’s social security number. The card listed the name “Walter Lee Coffman,” a

signature and an address of 4521 Eufaula Ave Muskogee, Oklahoma.

Campbell further submitted a current passport that included his

photograph but identified him as “Walter Lee Coffman,” and

indicated Walter Lee Coffman’s birthdate. The passport showed an

issuance date of August 17, 2015. Finally, Campbell presented an insurance letter with the name
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Walter L Coffman and an address of 1014 NM Highway 24 in Weed, New Mexico, matching the
address on the driver’s license. These documents were scanned into the MVD records system on
September 4, 2019. ' A renewed New Mexico license was subsequently issued to Campbell as a

result of this application.

During this investigation, agents learned that Walter Lee Coffman has been deceased since
1975 and that his identity was being fraudulently used for over several decades. Arkansas Bureau
of Vital Records verified that Coffman died on July 27, 1975, at the age of 22. The investigation
further established that Walter Lee Coffman is buried in Hot Springs, Arkansas, as agents were
able to obtain a photograph of his gravestone. An obituary published in The Sentinel-Record on
July 29, 1975, detailed Walter Lee Coffman’s death, provided information about his parents, and

included a photograph of Coffman. Additionally, agents confirmed Coffman’s death through a

~~" gLite Sentwedt-weConD. TuEsbay, sue 2.1975 death certificate from the Arkansas Bureau of Vital

at Obituaries

James O. Bates

Records, which matched the details Campbell had
provided to the MVD, including Coffman’s birth month,

date, and year, as well as his social security number.

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Walter Lee Coffman” ince bowgicat Sundey =

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The investigation revealed that in June of 1968, at age

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seta greduste of Lateoe si. wt 15, Walter Lee Coffman applied for a Social Security
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' Agents only recently received certified copies of these documents through a subpoena return
from the MVD in January of 2025.
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Number (SSN) through the Social Security Administration in Hot Spring, Arkansas. This social

security number matched the number utilized by

3 SOCIAL SURETY j Seviel teewrey Co TION

See ee: + Pins Si Tet oati Pete ne,

> St Pa eames er bet ng tal fs tt Campbell in his fraudulent documents.

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Agents assert that on October 10, 1995,

Campbell made a request for a replacement Social

Security Card in Coffman’s name, 20 years after

Coffman’s death. As part of the application process,

soe eee /
n ~ = ee _ Campbell provided a Muskogee, Oklahoma address.

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Accurint reports, indicate that Campbell lived in

Muskogee, Oklahoma, using Coffman’s identity,

until approximately 2003.

Cc offman’ s 1995 Replacement
SS Card Application
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At that time, Campbell relocated to Weed, New

Mexico. Agents believe that Campbell fraudulently used this replacement Social Security card
when renewing his driver’s license in New Mexico in 2019. The investigation revealed that
Campbell applied for a passport under the name of Walter Lee Coffman at the New Orleans

Passport Agency in October of 1984.

The Passport was subsequently issued to Campbell on

November 6, 1984. As part of the application process,

Campbell submitted a photograph of himself and listed his

Muskogee, Oklahoma address.

Ten years later, in 1994, Campbell renewed the Passport

under Coffman’s name once again providing a photograph of

himself.
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Campbell continued to renew the fraudulent passport under Walter Lee Coffman’s name on
two additional occasions: in 2005 and most recently by mail in 2015. For each renewal,
Campbell submitted an updated photograph of himself and used his current address in Weed,
New Mexico. Agents assert that Campbell used the fraudulent 2015 Passport card when

renewing his driver’s license in New Mexico in 2019.

Coffman’s 2ULS Passport application

IDENTIFICATION OF CAMPBELL

On or about February 14, 2025, the Honorable Gregory Fouratt authorized an arrest warrant
and fingerprint warrant for “John Doe a.k.a. Walter Lee Coffman” living at 1014 NM HWY 24,
Weed, New Mexico, 88354. The warrants were based on probable cause that” John Doe a.k.a.
Walter Lee Coffman” had misused a passport in violation of 18 U.S.C. 1544.

On February 19, 2025, agents located and arrested “John Doe a.k.a. Walter Lee Coffman”
and subsequently fingerprinted him. As a result of running the fingerprints through a law
enforcement database, John Doe a.k.a. Walter Lee Coffman was positively identified as Stephen

Craig Campbell, a wanted fugitive pending attempted murder charges out of Wyoming.
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This Affiant is aware that in 1982, Campbell was arrested by the Rock Springs Police
Department in Wyoming for Attempted Murder. Campbell was alleged to have created an
explosive device that he maliciously planted at his estranged wife’s boyfriend’s residence.
Campbell’s wife opened the device, which subsequently exploded, causing severe injury to her

and causing her condominium and her neighbor’s condominium to be completely engulfed in

flames. In 1983, Campbell was released on bond WANTED

By U.S. MARSHALS

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and subsequently absconded from law

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enforcement. On April 25, 1983, a state warrant detent
was issued for Campbell for Failure to Appear for = ™" on"
1“ Degree Attempted Murder. “— “ee

Affiant asserts that the Wyoming warrant is

still active in NCIC and that Affiant has had tery sister sere acter ‘de Fay tb tr i Meng et

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[ravi 6 momma tote steve ommanct thee FS Marshale (Mier, thevineet of Ve yeamtag at 1207) 172-1056.

recent contact with authorities in Wyoming who have indicated that they are willing to extradite
Campbell on the warrant

Based on the above reference information, your affiant respectfully submits that there is
probable cause to believe that Campbell knowingly and willfully misused a passport in violation

of Title 18, United States Code, Section 1544.

Respectfully submitied,

Dated: 2/20/25 A non, C~

Ldtey Cheer
FBI Specf@l Agent

Signed and sworn this 20 day Lge GP L
of February 2025 Ponorable Damian L. Martinez
United States Magistrate Judge

